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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
 In re:                                               :    Chapter 11
                                                      :
 SCUNGIO BORST & ASSOCIATES, LLC,                     :    Case No. 22-10609 (AMC)
                                                      :
                         Debtor.                      :
                                                      :

                                   CERTIFICATE OF SERVICE

          I, Michael D. Vagnoni, a partner at Obermayer Rebmann Maxwell & Hippel LLP, hereby

certify that on October 18, 2024 true and correct copies of: (1) Notice of Hearing; (2) First

Omnibus Objections of the Trust Administrator of the SBA Plan Trust to Proofs of Claim, and

Requests for: (I) Expungement of Scheduled Claims; (II) Expungement of Untimely Filed Claims;

(III) Expungement of Claims that Have Been Satisfied or Released During the Bankruptcy Case;

or (IV) Disallowance of Claims that Were Presented in a Form that Does Not Comply with the

Bankruptcy Rules; and (3) Proposed Order were served via first class United States mail, postage

prepaid, upon the parties listed on the attached service list.


                                                          /s/ Michael D. Vagnoni
                                                          Michael D. Vagnoni, Esquire




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                                        SERVICE LIST

 Scungio Borst & Associates, LLC                  United States Trustee
 c/o Robert W. Seitzer                            Office of United States Trustee
 Karalis PC                                       Robert N.C. Nix Federal Building
 1900 Spruce Street                               900 Market Street
 Philadelphia, PA 19103                           Suite 320
                                                  Philadelphia, PA 19107

 George M Conway, III                             1st Black Hawk LLC
 DOJ – U.S. Trustee                               715 East Nields Street
 Robert N Nix Federal Building                    West Chester, PA 19380
 900 Market Street, Suite 320
 Philadelphia, PA 19107

 AA Glass Industries LLC                          Action Store Fronts, Inc.
 2345 Route 9, Unit #3                            Attn: Jeffrey M. Farinacci
 Toms River, NJ 08755                             263 Union Blvd.
                                                  West Islip, NY 11795

 Action Store Fronts, Inc.                        Bristol Millwork Inc.
 c/o Brian W. Bisignaini, Esquire                 4560 Tacony Street
 1869 Charter Lane                                Philadelphia, PA 19124
 Lancaster, PA 17601

 Bursese Electric Inc.                            Buttonwood Company, Inc.
 1275 Bloomfield Avenue, Building 1-6AR           P.O. Box 500
 Fairfield, NJ 07004                              Eagleville, PA 19408

 Buttonwood Company, Inc.                         Cippco Inc.
 1 So. Schuylkill Avenue                          9323 Keystone Street
 Norristown, PA 19403                             Philadelphia, PA 19114

 Component Assembly Systems, Inc.                 Corporate Interiors Inc.
 580 Virginia Drive, Suite 140                    226 Lisa Drive
 Fort Washington, PA 19034                        New Castle, DE 19720

 Corporate Interiors, Inc.                        Cypress Door & Glass LLC
 123 Lisa Drive                                   185 Lancaster Avenue
 New Castle, DE 19720                             Malvern, PA 19355

 DDM Steel                                        DDM Steel
 3659 North Delsea Drive                          c/o William P. Rubley
 Vineland, NJ 08360                               Cooper Levenson, PA
                                                  1415 Marlton Pike East, Suite 205
                                                  Cherry Hill, NJ 08034


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 East Third Media, LLC                        East Third Media, LLC
 c/o Wright Partners                          c/o Zarwin, Baum, DeVito, Kaplan, Schaer &
 Attn: Carl Wright                            Toddy
 20 South Olive Street, Suite 203             2005 Market Street, 16th Floor
 Media, PA 19063                              Philadelphia, PA 19103

 East Third Media, LLC                        EC Fence & Iron Works Inc.
 c/o Carl Wright                              2941 Felton Road
 P.O. Box 1908                                Norristown, PA 19401
 Media, PA 19063

 Eckert Seamans Cherin & Mellott, LLC         Eckert Seamans Cherin & Mellott, LLC
 2 Liberty Place                              P.O. Box 673187
 50 S. 16th Street, 22nd Floor                Pittsburgh, PA 15264
 Philadelphia, PA 19102

 Freedom Glass & Metal, Inc.                  Fromkin Brothers Inc.
 4 White Horse Pike                           4510 Adams Circle, Unit E
 Clementon, NJ 08021                          Bensalem, PA 19020

 Fromkin Brothers Inc.                        Genova, Burns, Giantomasi & Webster
 c/o Davison Eastman Munoz Paone PA           2 Riverside Drive
 Attn: Michael J. Connolly, Equire            Camden, NJ 08103
 100 Willow Brook Road
 Freehold, NJ 07728

 Genova Burns, LLC                            Hanover Insurance Company
 Attn: Scott S. Rever, Esquire                Attn: Bari K. Shinbaum, Esquire
 110 Allen Road, Suite 304                    Hanover Insurance Co.
 Basking Ridge, NJ 07920                      Manson & McCarthy
                                              17 State Street, 8th Floor
                                              New York, NY 10004

 Hanover Insurance Company                    Hasan Tahiraj
 c/o Brian W. Bisignani, Esquire              c/o Mullaney & Gjelaj, PLLC
 Post & Schell, PC                            100-09 Metropolitan Avenue
 1869 Charter Lane                            Forest Hills, NY 11375
 Lancaster, PA 17601

 HK Panels Systems                            Hankinson & Koehler, Inc.
 1500 Industry Road, Suite G                  d/b/a HK Panel Systems
 Hatfield, PA 19440                           460 Norristown Rd., Suite 110
                                              Blue Bell, PA 19422




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 Edward B. O'Reilly & Associates, Inc.        E B O'Reilly & Associates, Inc.
 30 West Highland Avenue                      Attn: Travis Kreiser
 Philadelphia, PA 19118                       1300 Lawrence Road
                                              Havertown, PA 19083

 James Floor Covering Inc.                    Kevin J. Bailey & Son LLC
 2604 Durham Road                             917 Northwood Avenue
 Bristol, PA 19007                            Cherry Hill, NJ 08002

 Kevin J. Bailey & Son LLC                    KLS Logistics, Inc.
 c/o Alexander F. Barth, Esquire              c/o DHL Supply Chain (USA)
 1600 Market Street, 32nd Floor               Attn: Legal Department
 Philadelphia, PA 19103                       360 Westar Boulevard
                                              Westerville, OH 43082

 KPG-MCG Curtis Tenant LLC                    MAC Sprinkler Inc.
 Keystone Property Group                      3812 W. 9th Street
 125 E. Elm Street, Suite 400                 Levittown, PA 19057
 Conshohocken, PA 19428

 MAC Sprinkler, Inc.                          Massachusetts Bay Insurance Company
 1605 Hanford Street                          c/o Michael P. Kandler, Esquire
 Levittown, PA 19057                          Goldberg Segalla
                                              50 Main Street, Suite 425
                                              White Plains, NY 10606

 Massachusetts Bay Insurance Company          Mayfield Site Contractors
 c/o Brian W. Bisignani, Esquire              596 Swedeland Road
 Post & Schell PC                             King of Prussia, PA 19406
 1869 Charter Lane
 Lancaster, PA 17601

 Mayfield Site Contractors                    McCarthy Masonry and Concrete, Inc.
 c/o Stradley Ronon Stevens & Young LLP       740 E. Cherry Road
 Attn: Daniel M. Pereira                      Quakertown, PA 18951
 2005 Market Street, Suite 2600
 Philadelphia, PA 19103

 Med-Tex Services Inc                         Morris Black & Sons, Inc.
 P.O. Box 240                                 984 Marcon Blvd.
 Penns Park, PA 18943                         Allentown, PA 18109




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 Morris Black & Sons, Inc.                      Nerd Street Gamers Localhost Philadelphia,
 c/o Leo V. DeVito, Jr., Esquire                LLC
 38 West Market Street                          Attn: John Fazio, CEO
 Bethlehem, PA 18018                            908 North Third Street
                                                Philadelphia, PA 19123

 Network Flooring & Maintenance                 Network Flooring & Maintenance, LLC
 101 W Abbey Drive                              P.O. Box 257
 Townsend, DE 19734                             Middletown, DE 19709

 Northeast Fire Proofing                        Northeast Fireproofing & Insulation, Inc.
 608 Ryan Avenue                                P.O. Box 168
 Westville, NJ 08093                            Westville, NJ 08093

 Pennsylvania Flooring                          Philip Borst
 66 Ford Road, Suite 141                        641 Pugh Road
 Denville, NJ 07834                             Wayne, PA 19087

 Philip Borst                                   Reilly Glazing Inc.
 c/o Ciardi, Ciardi & Astin                     200 E. Washington Street
 c/o Nicole M. Nigrelli, Esquire                Norristown, PA 19401
 1905 Spruce Street
 Philadelphia, PA 19103

 Reilly Glazing Inc                             Revolution Recovery LLC
 c/o Alexander F. Barth, Esquire                7333 Milnor Street
 1600 Market Street, 32nd Floor                 Philadelphia, PA 19036
 Philadelphia, PA 19103

 RW Professional Cleaning LLC                   RW Professional Cleaning LLC
 112 Curnard Street                             c/o Richard Williams
 Wilmington, DE 19804                           112 Cunard Street
                                                Wilmington, DE 19804

 Elite Painting Service                         Schaibles Mechanical LLC
 600 Deer Road, Suite 10                        241 Van Syckles Road
 Cherry Hill, NJ 08034                          Hampton, NJ 08827

 Schaibles Plumbing & Heating, Inc.             Scope FLP Pennington SM, LLC
 c/o DL Thompson Law, PC                        Attn: Didier Choukroun, Manager
 P.O. Box 679                                   One Biscayne Tower
 Allenwood, NJ 08720                            2 South Biscayne Boulevard, Suite 2000
                                                Miami, FL 33131




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 Scope FLP Pennington SM, LLC                  Scungio & Company
 c/o Bernstein-Burkley, P.C.                   117 Moore Drive
 Attn: Keri P. Ebeck                           Media, PA 19063
 601 Grant Street, 9th Floor
 Pittsburgh, PA 15219

 Scungio Borst International                   Shopping Center Associates
 117 Moore Drive                               c/o Simon Construction Group
 Media, PA 19068                               Attn: Michael E. McCarty, President
                                               225 West Washington Street, 9th Floor
                                               Indianapolis, IN 46204

 Shopping Center Associates                    Summit Architectural Metals & Glass
 9136 Paysphere Circle                         920 Eldridge Drive, Suite G
 Chicago, IL 60674                             Hagerstown, MD 21740

 Superior Scaffold Services Inc.               TDR Systems Inc.
 600 Center Avenue                             t/a CHUTES International
 Bensalem, PA 19020                            33 Industrial Park Drive
                                               Waldorf, MD 20602

 Towne and Country Roofing & Siding            Towne & Country Roofing and Siding, Inc.
 4775 Lerch Road                               c/o Travis Kreiser
 Bensalem, PA 19020                            1300 Lawrence Road
                                               Havertown, PA 19083

 Troost Fire Protection                        United Rentals
 58 Hyatt Road                                 P.O. Box 100711
 Branchville, NJ 07826                         Atlanta, GA 30384-0711

 United Rentals                                William Walter Construction Group LLC
 Attn: Maria Anderson                          Attn: Michael Barbella
 10330 David Taylor Drive                      1431 N. Tuckahoe Road
 Charlotte, NC 28262                           Williamstown, NJ 08094

 William Walter Construction Group LLC
 c/o Stradley Ronon Stevens & Young, LLP
 Attn: Daniel M. Pereira
 2005 Market Street, Suite 2600
 Philadelphia, PA 19103




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